       Case 3:19-cr-00364-ECM-WC Document 31 Filed 02/03/20 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )    Case No.: 3:19-CR-364-ECM
                                                )
NAYEF AMJAD QASHOU                              )


     STATEMENT REGARDING COMPETENCY AND CRIMINAL RESPONSIBILITY

        Nayef Qashou, through undersigned counsel, submits the following statement in

compliance with this Court’s order on January 31, 2020. Dkt. No. 30.

        Mr. Qashou has undergone three separate evaluations to determine competency. Dkt.

Nos. 20, 21, 28. While these resulted in slightly varying and overlapping diagnoses—the most

recent of which includes: 1) Rule-Out Autism Spectrum Disorder, Level 1; and 2) Adjustment

Disorder with Anxiety resulting from Mr. Qashou’s present legal situation—all three evaluating

physicians concluded that Mr. Qashou has the ability to understand the nature and consequences

of these court proceedings and to cooperate with and assist counsel in his defense. Dkt. No. 28

at 12, 15; Dkt. No. 20 at 9; Dkt. No. 21 at 4. Counsel’s own impressions, garnered over the past

two months through phone calls and contact visits, similarly lead to the conclusion that Mr.

Qashou is competent to proceed in this matter and to participate in his defense.

        Presently, Mr. Qashou’s defense team does not have evidence that would support an

insanity defense.

        Dated this 3rd day of February, 2020.
Case 3:19-cr-00364-ECM-WC Document 31 Filed 02/03/20 Page 2 of 3



                             Respectfully submitted,

                             s/ Sandi Y. Irwin
                             SANDI Y. IRWIN
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                             Federal Defenders
                             Middle District of Alabama
                             817 South Court Street
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                             TEL: (334) 834-2099
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          Case 3:19-cr-00364-ECM-WC Document 31 Filed 02/03/20 Page 3 of 3



                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF ALABAMA
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UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      Case No.: 3:19-CR-364-ECM
                                                 )
NAYEF AMJAD QASHOU                               )


                                 CERTIFICATE OF SERVICE

          I hereby certify that on February 3, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification to all counsel of

record.

                                                 Respectfully submitted,

                                                 s/ Sandi Y. Irwin
                                                 SANDI Y. IRWIN
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                                                 Federal Defenders
                                                 Middle District of Alabama
                                                 817 South Court Street
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